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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 18-61463-CIV-MORENO
JANET FRANCIS,

Plaintiff,

VS.

MSC CRUISES, S.A.,

Defendant.
/

 

ORDER OF REASSIGNMENT TO MAGISTRATE JUDGE SELTZER

THIS CAUSE came before the Court upon the Parties’ Consent to Proceed Before a
United States Magistrate Judge (D.E. 17), filed on August 20, 2018.

THE COURT has considered the pertinent portions of the record, and being otherwise
filliy advised in the premises, it is

ORDERED that the above-captioned matter be referred to United States Magistrate
Judge Barry S. Seltzer for all further proceedings and the entry of judgment in accordance With
28 U.S.C. § 636(6) and the consent ofthe parties.

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DONE AND ORDERED in Chambers at Miarni, Florida, this ;§ of August 2018.

 

Copies furnished to:
Magistrate Judge Barry S. Seltzer
Counsel of Record

